Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Pageiof8

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non~Prisoner)

UNITED STATES DISTRICT COURT

for the
Wgtern _ district of |) fry
Division

Case No. BQb-wW- 003t- LKU

)
j WAT PI A . (to be filled in by the Clerk's Office)
Alanzo Jomichae/ werson _
Plaintiffs) )
(Write the full name of each plaintiff who is filing this complaint. 7, XI
Ef the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes [_}no
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
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VV iVven cl t . )
Major League Baseloal' uss
c wt . a , ——— ——_____ ENTERED
v ISR ; Un (Vv evSca\ use cous ~ ) ————10DGED ____ RECEivep
\ Defendant(s) { )
(Write the full name of each defendant who is being sued. If the ) 3
names of all the defendants cannot fit in the space above, please ) MAY 0 2025 RE
write “see attached” in the space and attach an additional page AT SEATTLE
with the full list of names. Do not include addresses here.) WESTERN DISTRICT Ceo rON
BY DEPUTY

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

Page | of 6
Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Page 2of8

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

1 The Parties to This Complaint

A. The Plaintiffs)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Al ONZO Ja michae/ SL UtiSon
Address S0/0..s0_3171? Ly_ Apt 7308
Federal Way WA 938022
City J State Zip Code
County
Telephone Number

E-Mail Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name Dis ney

Job or Title (known)

Address $00 South. Bveng _Uisly Street
Burbank CA G15Ub
City State Zip Code
County LA. County
Telephone Number (

E-Mail Address (if own)

Kk individual capacity PX otticial capacity

Defendant No. 2

Name Un Cvev Sa | MN VIC, C, feup

Job or Title (if known)

Address LPL Co [ Ora do gy

Santa Monica tot:
City State Zip Code
County CA county
Telephone Number {
E-Mail Address (if known)

| X] Individual capacity [Xd Official capacity

Page 2 of 6
Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Page 3of8

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

Defendant No. 3

Name May Leaaque Daseba| (
Job or Title af known) Uv YJ - 8
Address 271 Avenuz. of Americas
New Yo. NY teow
City State Zip Code
County
Telephone Number

E-Mail Address (if known)

Individual capacity DX] Official capacity

Defendant No. 4

Name V, sendy
Job or Title (if known)
Address AL.Avi de Fnclawed
PARLE FRANCE 203
| City State ~ Zip Code
County |
Telephone Number

E-Mail Address (if known)

Pd individual capacity >A] Official capacity
II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
BX] Federal officials (a Bivens claim)

XI State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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Cc. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page 3 of 6
Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Page 4of8

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

U1.

D. Section 1983 allows defendants to be found liable only when they have acted “under.color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Theft of fnbelleetual Property. Defendants use efolen
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Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

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B. What date and approximate time did the events giving rise to your claim(s) occur?

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C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

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Page 4 of 6
Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Page 5of8

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

Iv.

Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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Ytsb

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Dex Deve L301)

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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Page 5 of 6
Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Page 6of8

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. J understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: ow a r 7) 29

a

Signature of Plaintiff
Printed Name of Plaintiff

wv Uw '“ 303

wy Lge vevsony

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney

Bar Number
Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

Page 6 of 6
Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Page 7of8

UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

‘A. NAME & PHONE OF CONTACT AT FILER (optional) ee
Alonzo Severson Ties Pies «00%22300-ARH
eo : .. fa
B. E-MAIL CONTACT AT FILER (optional
CONTAC (optional) File Number _ : 2020-083-2044-3
©. SEND ACKNOWLEDGMENT TO: (Name and Address) ~ Lapse Date : NONE
[ ALONZO SEVERSON “|i
1733 Grove st
Bremerton WA USA 98311
L | THE ABOVE SPACE IS FOR FILING OFFICE USE GNLY

i. DEBTOR'S NAME: Provide only one Debtor name (14 or 1b) (use exact, full name; do not omit, modify, or abbraviate any part of the Debtor's name); if any part of the individual Debtor's
name will not fit in line 1b, ieave all of item 4 blank, check here CT] and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCS1Ad}
1a. ORGANIZATION'S NAME =

ALONZO JAMICHAEL SEVERSON

OR} 1b. INDIVIDUAL'’S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)ANITIAL(S) SUFFIY
1e. MAILING ADDRESS City STATE |POSTAL. CODE COUNTRY "
1733 Grove st Bremerton WA | 98311 USA

2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2bf"(use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debter's
name will not fit in line 2b, leave all of item 2 blank, check here Cl and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
[* ORGANIZATION'S NAME -

OR

2b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)/ANIT!AL(S) [SUFFIX

2s. MAILING ADDRESS CITY

STATE |POSTAL CODE COUNTRY

3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide enly one Secured Party name (3a or 3b)
3a. ORGANIZATION’S NAME

OR 3b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S} SUFFIX
Severson Alonzo Alonzo Severson

3c. MAILING ADDRESS CITY : STATE |POSTAL CODE COUNTRY

6969 Provost rd nw Bremerton WA| [98312] USA

4. COLLATERAL: This financing statement covers the following collateral:

This is the entry of the collateral entry record owner: Alonzo Jamichael Severson, and Debtor; ALONZO JAMICHAEL
SEVERSGN , in the Commercial Chamber under the necessity and the following property is hereby registered in the same:
All Certificates of Birth Document #1000842 as herein likened and claimed at a sum certain $100,000,000.00, Washington
state Driver License #SEVERAJ095L3, WA IDENTIFICATION CARDi# WDL4T859C63B UCC Contract Trust Account#

XxxXx-xx-7018 Exemption ID# G21737777,AUTOTRIS AND CUSIP# XXX-XX-7018, Security Agreement # 121619-1-s/a,
Power of

5. Check only if applicable and check only one box: Collateral is held in a Trust {see UCC1Ad, item 17 and insiructions)

being admini: by aD 's Personai Rep
§a. Check only if applicable and check only one box: 6b. Check only if applicable and check only one box:
[_] Public-Finance Transaction rj pf d-Home Transacti WW] A Debtor is a Transmitting Utility [] Asricutural tien — [] Non-UCe Fiting
7, ALTERNATIVE DESIGNATION (if applicable): E] Lessee/Lessor LE] Consignee/Consignor [] Seller/Buyer C] Bailee/Bailor LC Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
1) Tater A of C A ‘atare (IACA)

FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC‘) (Ee 04/20/1
PAGE 1 OF 2 2020-083-2044-3
Case 2:25-cv-01034-LK Document5 Filed 06/05/25 Page 8of8

Continuation of section 4 collateral

4. This FINANCING STATEMENT covers the following collateral:

attorney item # 121619-2 (HHIA)Hold Harmless and Indemnity# 05222019-AAJS, Copyright notice #
052507CLC. Said registration to secure rights, title(s) and interest in and of the Root of Title and Birth
Certificate #1000842 as received by GEORGIA DEPARTMENT OF HEALTH AND WELFARE (Division of
Vital Statistics) DNA ,retina scans, and all debentures, indentures, Accounts and all the Pledges
represented by same included by, not limited to the pignus, hypothetical, hereditments, res,the energy and
all products derived therefrom,nunc pro tunc, but not limited to all capitalized names, ALONZO
JAMICHAEL SEVERSON, ALONZO J SEVERSON, AJS, AS, and SEVERSON, ALONZO.

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PAGE ? OF 2? IMNONNRR-INAAS
